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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

    BRUCE COHN,                           §
                                          §
           Plaintiff,                     §
                                          §
    VS.                                   §
                                          §    CIVIL ACTION NO. 1:24-CV-00337
    ANNA POPESCU,                         §     JUDGE MICHAEL J. TRUNCALE
    TRUSTHFTWALLET.COM, and               §
    JOHN DOES 1-20,                       §
                                          §
           Defendants.                    §


     ORDER GRANTING PLAINTIFF’S MOTION FOR PRELIMINARY
                    RESTRAINING ORDER

          Before the Court is Plaintiff’s Motion for Preliminary Restraining

   Order (the “Motion”). [Dkt. 9]. On August 16, 2024, the Court granted

   Plaintiff’s request for a 14-day TRO freezing accounts at four cryptocurrency

   exchanges to which Plaintiff alleged he had traced his stolen assets. [Dkt. 6.]

   The Court subsequently extended that TRO for another 14 days. [Dkt. 8].

   Plaintiff now seeks to extend this asset freeze through trial.

          The Court has reviewed Plaintiff’s Motion and evidentiary materials.

   For the reasons set out below, Plaintiff’s Motion is hereby GRANTED.

          I.      Background

          Plaintiff’s relevant allegations are as follows. In June 2024, he met a

   person claiming to be named Anna Popescu on a dating website. ECF. 9-1,

   Declaration of Bruce Cohn (hereafter “Cohn Decl.”), ¶ 3. Popescu eventually

   told Mr. Cohn about her success investing and trading cryptocurrencies and



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   introduced him to a platform called TrustHFTwallet. Id. at ¶ 4. Popescu told

   Mr. Cohn that she knew how to make profits using TrustHFTwallet and

   offered to teach him how to do the same. Id. She encouraged him to make a

   TrustHFTwallet account, which he soon did. Id.

         Over the next several months, Popescu ‘trained’ Mr. Cohn in

   cryptocurrency trading using the TrustHFTwallet platform. Id. at ¶ 5. When

   Mr. Cohn was ready to make a deposit on TrustHFTwallet, the platform

   provided him asset-transfer instructions via its mobile application. Id. Mr.

   Cohn completed the transactions as instructed. Id. Each time, the amount of

   the funds he ‘deposited’ would then be reflected in his transaction history and

   account balance on the TrustHFTwallet platform. Id. Over time, he sent

   assets to TrustHFTwallet with a dollar-denominated value of more than

   $2,400,000.00. Id.

         Mr. Cohn’s balance on the TrustHFTwallet platform appeared to grow

   rapidly—eventually showing that he had crypto assets worth more than $5

   million in his account. Id. at ¶ 6. But when he attempted to withdraw his

   funds, TrustHFTwallet informed him that him that he could not do so in

   significant quantities without ‘leveling up’ his account by depositing more

   money. Id. at ¶ 8. Mr. Cohn began to believe he had been scammed. Id.

         Mr. Cohn now alleges that TrustHFTwallet’s explanations as to why

   he could not withdraw his funds were lies. ECF 1, Verified Complaint, at ¶

   17. He says the real reason TrustHFTwallet would not return his assets is




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   that TrustHFTwallet is not a real trading platform at all. Id. Instead, he

   alleges that he has been the victim of what is known as a “pig-butchering

   scam.” Id. at ¶ 4. According to Mr. Cohn, this is a type of investment scam in

   which the perpetrators deceive victims into depositing their assets on a fake-

   but-realistic-looking “trading” or “investment” platform, where no trading or

   investment ever occurs. Id. Instead, Mr. Cohn alleges, the assets are simply

   stolen. Id. at ¶ 17.

          After retaining counsel, Mr. Cohn engaged Nefture, a blockchain-

   investigations firm, to perform a “blockchain tracing” report. This “tracing”

   refers to the process of following digital assets from location to location on the

   blockchain via publicly available data. Cohn Decl., Att. F (Nefture Report).

   Mr. Cohn’s investigator was able to trace his allegedly stolen assets to

   addresses    associated   with    four    distinct   cryptocurrency   exchanges.

   Immediately after filing this action, Mr. Cohn sought an emergency ex parte

   temporary restraining order (“TRO”) requiring that these exchanges

   temporarily freeze the accounts associated with the blockchain addresses he

   identified as receiving the assets stolen from him, so that he might preserve

   some assets for recovery. The Court issued a TRO to that effect, and

   subsequently extended that TRO by 14 days.

          Mr. Cohn now seeks a preliminary injunction that would extend the

   Court’s freezing order through trial as to the accounts at Binance, OKX, and

   Zedxion that he has identified as receiving his assets. He has submitted three




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   declarations in support of his Motion. His own declaration sets out the

   allegations recounted above and attaches evidence showing his conversations

   with Anna Popescu, his transaction history, his blockchain-tracing report,

   and the TrustHFTwallet platform. Mr. Cohn has also submitted a declaration

   under the signature of his counsel, which attaches evidence showing that Mr.

   Cohn provided the Defendants notice of the preliminary injunction hearing

   via the same means they used to communicate with him.

         Mr. Cohn’s Motion also attaches the Cole Declaration. Mr. Cole is the

   founder of Digital Investigations, LLC, a blockchain-investigations firm. ECF

   9-2, Declaration of Evan Cole (hereafter “Cole Decl.”), ¶¶ 2 – 3. His

   declaration submits a preprint of a forthcoming academic article that he

   describes as the most comprehensive study of pig-butchering scams to date.1

   This study compiled and analyzed information about more than 1,300 pig-

   butchering scams, with the aim of creating a framework for identifying such

   scams and setting them apart from other forms of cybercrime (and from

   legitimate investment operations). Id. Mr. Cole’s declaration provides a

   detailed comparison of the evidence submitted by the Mr. Cohn with the

   typology set out in Examining Pig Butchering. Id. at ¶¶ 8 – 17. It also provides

   evidence concerning the scope of the pig-butchering epidemic, the devastation




         1 Id. at ¶¶ 5 – 6 (citing Marie-Helen Maras, Emily R. Ives,
   Deconstructing a Form of Hybrid Investment Fraud: Examining ‘Pig
   Butchering’ in the United States, JOURNAL OF ECONOMIC CRIMINOLOGY,
   Volume 5 (forthcoming Sep. 2024) (hereafter, “Examining Pig Butchering”)).


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   this kind of fraud has wrought on victims, and the organizational and money-

   laundering practices of the pig-butchering scammers. Id. at ¶¶ 18 – 23.

         II.    Analysis

         Mr. Cohn has met the requirements for issuance of a Preliminary

   Injunction for the following reasons.

         First, Mr. Cohn has shown that the Defendants had notice of his

   Motion and this hearing as required under Federal Rule of Civil Procedure

   65(a)(1). His counsel has submitted a declaration recounting the methods

   used to provide notice and attaching evidence of the same. ECF 9-3,

   Declaration of Marshal Hoda (hereafter, “Hoda Decl.”), ¶ 3.

         Next, Mr. Cohn has met the substantive requisites for issuance of a

   preliminary injunction. To obtain a preliminary injunction, the movant must

   show (1) a substantial likelihood of success on the merits, (2) a substantial

   threat of irreparable harm if the injunction does not issue, (3) that the

   threatened injury outweighs any harm that will result if the injunction is

   granted, and (4) that the grant of an injunction is in the public interest. Moore

   v. Brown, 868 F.3d 398, 402-03 (5th Cir. 2017). Each of these requisites is

   addressed in turn below.

         Mr. Cohn makes claims against the Defendants for violation of the

   Racketeering Influenced and Corrupt Organizations Act (“RICO”), fraud, and

   conversion. Complaint, ¶¶ 19 – 31.

         To prove a RICO claim, a plaintiff must show (1) a violation of 18 U.S.C.

   § 1962, (2) an injury to his business or property, and (3) that the RICO


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   violation caused this injury. Lewis v. Danos, 83 F.4th 948, 956 (5th Cir. 2023).

   To prove a RICO violation, a plaintiff must show that the defendant is a

   person engaged in a pattern of racketeering activity, connected to the

   acquisition, establishment, conduct, or control of an enterprise. Whelan v.

   Winchester Prod. Co., 319 F.3d 225, 229 (5th Cir. 2003).

         Mr. Cohn’s evidence describes the Defendants’ “pig-butchering” scam

   and provides documentation as to how that unfolded. Cohn Decl., ¶¶ 3 – 11.

   In particular, Mr. Cohn’s Declaration shows how he was deceived into the

   scam by a person with whom he believed he was developing a personal and

   even romantic relationship. Cohn Decl., ¶¶ 3 – 9. Furthermore, Evan Cole’s

   Declaration attests as to why Defendants are professional cybercriminals

   well-versed in these pig-butchering scams that perpetrate a pattern of wire

   fraud across the globe. Cole Decl., ¶¶ 5–17. As a result of the scam, Mr. Cohn

   alleges that he lost assets worth more than $2.4 million. Complaint, ¶ 15. In

   his briefing, Mr. Cohn has provided an order from a Florida federal court that

   issued a default judgment approving a RICO claim similar to his claim in this

   case. See Sun v. Defendant 1, No. 1:23-cv-21855 (S.D. Fla. Dec. 8, 2023). Mr.

   Cohn’s RICO claim is likely to succeed on the merits.

         To prove a conversion claim under California law, the plaintiff must

   show “(1) the plaintiff's ownership or right to possession of the property; (2)

   the defendant’s conversion by a wrongful act or disposition of property rights;

   and (3) damages.” Welco Elecs., Inc. v. Mora, 223 Cal. App. 4th 202, 208 (Cal.




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   Ct. App. 2014). The Cohn and Cole Declarations have demonstrated that the

   Defendants wrongfully and intentionally took control of Mr. Cohn’s assets

   and have not returned them. Cohn Decl., ¶¶ 3 – 9; Cole Decl., ¶¶ 5 – 17. In

   his briefing, Mr. Cohn cited a federal cryptocurrency fraud preliminary

   injunction that similarly found that the plaintiff was likely to succeed on the

   merits. See Bullock v. Doe, No. 23-cv- 3041, 2023 WL 9503380, at *5 (N.D.

   Iowa Nov. 3, 2023). Thus, Mr. Cohn is likely to succeed on the merits of his

   conversion claim.

         Finally, to allege a fraud claim under California law, a plaintiff must

   show (1) the defendant made a misrepresentation, (2) the defendant knew the

   misrepresentation was false, (3) the defendant’s intent to defraud, (4)

   justifiable reliance, and (5) damages. OCM Principal Opp. Fund, L.P. v. CIBC

   World Mkts. Corp., 157 Cal. App. 4th 835, 845 (Cal. Ct. App. 2007). Similar

   to conversion, the Cohn and Cole Declarations have demonstrated that the

   Defendants intentionally deceived Mr. Cohn and took control of his assets to

   trade cryptocurrency for profit under the representation that their

   investments would be legitimate. Cohn Decl., ¶¶ 3 – 9; Cole Decl., ¶¶ 5 – 17.

   Mr. Cohn relied on these representations in transferring his savings worth

   about $2,400,000.00 to the Defendants, which he now seeks to recover. Id.

   Thus, Mr. Cohn is likely to succeed on the merits of his fraud claim.

         In total, Mr. Cohn has alleged and provided evidence that the

   Defendants deceived him and misappropriated his assets in what appears to




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   have been an intentional pig-butchering scam.2 The Court finds that the

   similarities between his allegations and the widely known characteristics of

   this distinctive kind of scam suggest that he will indeed be able to prevail on

   these claims against the Defendants once a full evidentiary record is

   developed. The comparison of the Mr. Cohn’s evidence to the Examining Pig

   Butchering typology has only strengthened the evidentiary basis for this

   conclusion since the Court entered the TRO.

         In addition, as in the previous order granting the extant TRO, the

   Court notes that asset freeze Mr. Cohn seeks in this instance is permissible

   in light of his request for a constructive trust over specific, traceable stolen

   assets, as several courts have held in analogous cryptocurrency-fraud cases.

   See, e.g., Yogaratnam v. Dubois, No. CV 24-393, 2024 WL 758387, at *3 (E.D.

   La. Feb. 23, 2024) (issuing asset-freeze TRO in crypto-fraud case, noting

   that “numerous district courts … have issued a TRO in this exact

   circumstance to freeze a cryptocurrency asset,” and collecting cases); Jacobo,

   2022 WL 2052637, at *3 (issuing asset-freezing TRO where plaintiff sought

   constructive trust over allegedly stolen assets); Gaponyuk, 2023 WL 4670043,

   at *2 (same). Mr. Cohn’s claim that his assets can be traced to the Binance,

   Zedxion, and OKX is again supported by the blockchain analysis submitted

   in support of his Motion. See Cohn Decl., Att. F (blockchain-tracing report).


         2 Complaint, ¶¶ 1 – 4, 14 – 19; Cohn Decl., passim; Cole Decl., ¶¶ 5 –

   17 (comparing evidence submitted with leading academic study of pig-
   butchering scams).


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         Mr. Cohn has also shown that irreparable harm will ensue absent the

   restraining order he seeks. The Cole Declaration details how the assets

   allegedly stolen from Mr. Cohn could be further transferred to unretrievable

   locations at any time, with the click of a button. Cole Declaration, ¶ 24

   (explaining that “crypto assets can be moved in seconds from address to

   address,” and that Mr. Cohn will be unlikely to recover if they are further

   dissipated). Several federal courts have found that this exigency justified

   issuance of freezing orders in similar crypto-fraud cases, and this Court finds

   their reasoning persuasive here.3

         Next, the Court finds that the threatened injury to Mr. Cohn outweighs

   any harm the Defendants may suffer by virtue of a freeze of their accounts.

   The Defendants will suffer at worst a temporary inability to move assets if

   the injunction is later dissolved. See, e.g., Licht v. Ling, No. 3:23-CV-1018,

   2023 WL 4504585, at *3 (N.D. Tex. June 20, 2023) (balancing factor weighed

   in plaintiff’s favor because alleged crypto-thieves faced only “inconvenience”


         3 See, e.g., Ohlin v. Defendant 1, No. 3:23-C-8856-TKW-HTC, 2023 WL

   3676797, at *3 (N.D. Fla. May 26, 2023) (“Considering the speed with which
   cryptocurrency transactions are made as well as the anonymous nature of
   those transactions, it is imperative to freeze the Destination Addresses to
   maintain the status quo to avoid dissipation of the money illegally taken from
   Plaintiffs.”); Jacobo v. Doe, No. 1:22-CV-00672DADBAKBAM, 2022 WL
   2052637, at *3 (E.D. Cal. June 7, 2022) (“Because it would be a simple matter
   for [defendant] to transfer [the] cryptocurrency to unidentified recipients
   outside the traditional banking system and effectively place the assets at
   issue in this matter beyond the reach of the court, the court finds that plaintiff
   is likely to suffer immediate and irreparable harm in the absence of injunctive
   relief.”) (cleaned up); Astrove v. Doe, No. 1:22-CV-80614-RAR, 2022 WL
   2805315, at *3 (S.D. Fla. Apr. 22, 2022) (same).


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    of asset-freeze, which could be undone); Jacobo, 2022 WL 2052637, at *6

    (same, finding “[a] delay in defendant’s ability to transfer the [allegedly

    stolen] assets only minimally prejudices defendant, whereas withholding

    injunctive relief would severely prejudice plaintiff by providing defendant

    time to transfer the allegedly purloined assets into other accounts beyond the

    reach of this court”). In contrast, maintaining the assets at the destination

    accounts is perhaps Mr. Cohn’s only realistic chance at a future recovery in

    this case.

          Finally, the Court finds that issuing the injunction is in the public

    interest. In fact, in this case, the public interest weighs particularly heavily

    in favor of the requested injunction. Mr. Cohn’s evidence shows that the

    devastation wrought by the pig-butchering epidemic is breathtaking. Cole

    Decl., ¶¶ 21 – 23. The FBI estimates that in 2023 alone, pig-butchering

    scammers stole nearly $4 billion from tens of thousands of American victims.

    Id. CNN has noted that this is “theft at a scale so large that investigators are

    now calling it a mass transfer of wealth from middle-class Americans to

    criminal gangs.” Id. Experienced prosecutors have reported that they “have

    never seen the absolute decimation of people that [they have] seen as a result

    of pig butchering.” Id. The public interest overwhelmingly favors preserving

    victims’ only potential source of recovery through the issuance of preliminary

    injunctive relief. As other courts have noted, issuing the relief requested will

    “provide[] assurance to the public that courts will take action to promote …




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    recovery of stolen assets when they can be readily located and traced to

    specific locations.” Jacobo, 2022 WL 2052637, at *6. Foreign criminal gangs

    cannot be allowed to steal the life savings from tens of thousands of

    hardworking Americans with impunity.

          III.   Preliminary Injunction

          Plaintiff has submitted evidence tracing the assets he alleges were

    stolen from him to 15 deposit addresses at the cryptocurrency exchanges

    Binance, Zedxion, and OKX (the “Receiving Addresses”). The Receiving

    Addresses are:


     Exchange             Address


     Binance              16gWSWQ8nJ6QiiuCj8Ya9ADVZVD4LRRQyy


     Binance              1JYByGQYMHzRMSpha7f3bT6V2qv1NVkNVj


     Binance              0x8bf9538e6d36a20466b40d1e873b137e68dbf5f3


     Binance              0x7d732b8fff5e1fcbf7c384c8ed1577209d7ed48f


     Binance              0x6d7c64808be889d12b97d812b6e54d9594c87a1c


     Binance              0x16bae474cbdfca7214196decf6e74e856dd09e10


     Binance              0x8bd3596bd1d0e4484ff29df420399b6e9197e3f4


     Zedxion              17y7A2SUCZpjdKmdAJq2rD4Js6Z89jehgi


     Zedxion              1n9wzc4Bbb8vYvXugeFBfLsfqC5NC1WcN



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     OKX                    3NdBc2vgwxWt4jjUeoYshqibXPRD5NrL7C


     OKX                    0xdA22870E0Bd87133250fbC319476E278D7af93c2


     OKX                    0x5041ed759Dd4aFc3a72b8192C143F72f4724081A


     OKX                    0x59dca074075b8d622d50bf8bdb78d2d168764fb0


     OKX                    0x5d8814d1268d70d89c2ee8cdf9e14ff64902fce6


           For the reasons set out in the Motion, the Court finds that the accounts

    associated with these deposit addresses should be frozen. Accordingly, the

    Court hereby ORDERS that Defendants and their agents, servants,

    employees, attorneys, partners, successors, assigns, and all other persons or

    entities through which they act or who act in active concert or participation

    with any of them, who receive actual notice of this Order by personal service

    or otherwise, whether acting directly or through any trust, corporation,

    subsidiary, division or other device, or any of them, are hereby restrained

    from withdrawing, transferring, or encumbering any assets currently held by,

    for, or on behalf of the persons controlling the accounts associated with the

    above-listed Receiving Addresses, or any business entity through which they

    act or which acts in active concert or participation with them; including but

    not limited to those assets currently held at or for the Receiving Addresses.

           The Court ORDERS that Plaintiff shall cause a copy of this Order to

    be served on the above-listed entities in a manner compliant with Rule 4 or



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    as the Court may further direct. Upon receiving a copy of this Order, these

    entities shall be restrained and enjoined from disturbing assets, directly or

    indirectly, to or on behalf of Defendants or any entities under Defendants’

    control. Additionally, the Court ORDERS that all movement, alteration, or

    destruction of books, records, and accounts related to the above-listed

    blockchain addresses is prohibited. The Court declines to impose a bond.

          The preliminary injunction set out in this Order shall continue until

    trial or further order of the Court.




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    Dated: September 9, 2024                 Prepared By:

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